Case 2:03-cv-02095-SH|\/| Document 42 Filed 07/26/05 ' Page _1 of 3 Page|D 65

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WESTERN DIVISION
M. GOULD
JEFF woonAnn, w,=t) t`)t=' viz S;+EMS
Plalntiff,
vl. No¢ 03-2095 MaV
JURY TRIAL DEMANDED

GEORGE M. LITTLE. in his official
Capaoity, as Direotor of Bhelby County
Con'ectional Center, and SI-IELBY COUNTY
GOVERNMENT,

Defendant.

 

ORDER OF DISMISBAL WITI'I PREJUDICE

 

The Court being advised that the Plaintiff desires to dismiss the above-
styled and numbered matter, the Court finds that this matter should be and is
hereby dismissed

ORDER AND DISMISSED, With each party to bear its own costs.

M(//w.__

U. S. District Judge

IJ¢] “z-L. 2-¢'§
DATE= , "

 

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Case 2:03-cv-02095-SH|\/| Document 42 Filed 07/26/05 Page 2 of 3 Page|D 66

VED AB TO FORM!

 

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UNITED `STATES DRISTIC COURT - WESTERN DISITRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CV-02095 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

